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                   SC NAACP v. Alexander,
       D.S.C. Case No. 3:21-cv-03302-MGL-TJH-RMG




                    EXHIBIT 4
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  1                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF SOUTH CAROLINA
  2                         COLUMBIA DIVISION
  3        THE SOUTH CAROLINA STATE
           CONFERENCE OF THE NAACP
  4
                and
  5
           TAIWAN SCOTT, ON BEHALF OF HIMSELF
  6        AND ALL OTHER SIMILARLY SITUATED
           PERSONS,
  7
                       Plaintiffs,
  8
                vs.                Case No. 3:21-CV-03302-MGL-TJH-RMG
  9
           THOMAS C. ALEXANDER, IN HIS OFFICIAL
 10        CAPACITY AS PRESIDENT OF THE SENATE;
           LUKE A. RANKIN, IN HIS OFFICIAL CAPACITY
 11        AS CHAIRMAN OF THE SENATE JUDICIARY
           COMMITTEE; MURRELL SMITH, IN HIS OFFICIAL
 12        CAPACITY AS SPEAKER OF THE HOUSE OF
           REPRESENTATIVES; CHRIS MURPHY, IN HIS
 13        OFFICIAL CAPACITY AS CHAIRMAN OF THE HOUSE
           OF REPRESENTATIVES JUDICIARY COMMITTEE;
 14        WALLACE H. JORDAN, IN HIS OFFICIAL CAPACITY
           AS CHAIRMAN OF THE HOUSE OF REPRESENTATIVES
 15        ELECTIONS LAW SUBCOMMITTEE; HOWARD KNAPP,
           IN HIS OFFICIAL CAPACITY AS INTERIM
 16        EXECUTIVE DIRECTOR OF THE SOUTH CAROLINA
           STATE ELECTION COMMISSION; JOHN WELLS,
 17        JOANNE DAY, CLIFFORD J. EDLER, LINDA MCCALL,
           AND SCOTT MOSELEY, IN THEIR OFFICIAL
 18        CAPACITIES AS MEMBERS OF THE SOUTH CAROLINA
           STATE ELECTION COMMISSION,
 19
                     Defendants.
 20        ______________________________________________________
 21        DEPOSITION OF:   BRENDA C. MURPHY
                            (Via Videoconference)
 22
           DATE:               Monday, August 8, 2022
 23
           TIME:               10:00 a.m.
 24
           LOCATION:           6111 North Main Street
 25                            Columbia, South Carolina

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 1        against each other in certain districts.
 2                         MR. INGRAM:         Objection.
 3                         THE WITNESS:         It depends on how the
 4        lines are drawn.          And we were doing it in such a
 5        manner that we were in terms of not minimizing the
 6        influence of the Black voter.
 7        BY MR. TYSON:
 8                  Q.     No, I understand that.                You were -- you
 9        were looking at the Black voters and you were
10        looking at race, and that was a factor that you used
11        in drawing your maps.             Right?
12                  A.     That's right, in order to be able to
13        be -- for Black voters to be able to -- be able to
14        at least have some influence on who is elected,
15        whether it's a Black person or a White person, but
16        have some influence on a person of choice for their
17        community.
18                  Q.     And I understand that position strongly.
19        Let's just be clear on this.                Race was a factor --
20        race was a factor that the NAACP used in drawing its
21        maps.     Right?
22                  A.     To minimize the impact on the ability of
23        Black people to influence the selection -- the
24        person of choice.
25                  Q.     And so that was real important to you

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 1        and the NAACP.          Right?
 2                  A.     Yes.
 3                  Q.     And it was more important to make sure
 4        that the lines were drawn, that race was used in a
 5        way that it even might be at the expense of looking
 6        at some of these traditional criteria, right, like
 7        splitting and contiguous and compact and cores of
 8        interest?
 9                         MR. INGRAM:         Objection.
10                         THE WITNESS:         Okay.      Would you ask that
11        question again?
12        BY MR. TYSON:
13                  Q.     Yeah.      I'm just trying to -- I'm not
14        trying to make an argument or trying to be in an
15        argument, but I think we are speaking the same way.
16        Race was used in a way by the NAACP maps to draw its
17        districts.       Correct?
18                  A.     Yes.
19                  Q.     And some of that resulted potentially in
20        not -- in having -- making race at a higher priority
21        than some of these other nonracial criteria --
22                         MR. INGRAM:         Objection.
23        BY MR. TYSON:
24                  Q.     -- compactness, contiguous, contiguity.
25        Does that make sense?

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 1                  A.      Yeah.     But keep in mind the Voting
 2        Rights Act, Section 2.             That's something we also
 3        considered.        Okay?
 4                          Now, you don't have to -- in terms of
 5        being able to influence what happens to you in your
 6        community, you know, when you look at BVAPs it
 7        doesn't have to be a higher BVAP, because maybe the
 8        person that you want to represent you may not always
 9        be a Black person, but at least you get a
10        blurry-free vote.
11                  Q.      I'm not -- like I said, Ms. Murphy, I
12        wasn't arguing with you.              I just wanted to make sure
13        we were on the same page about that.
14                          You just mentioned the Voting Rights
15        Act.     There is not a Voting Rights Act Section 2
16        claim in this complaint, though, is there?
17                  A.      Well, you know, I think the thing -- we
18        have to consider the constitution in terms of how --
19        and making sure we are in compliance.                     So when it
20        comes to the Voting Rights Act, you know, we have to
21        look at Section 2.           And I understand what you're
22        saying.        But my point is, if we are not saying
23        that -- we are not asking that the BVAP be
24        50 percent or greater, you know, it may be 25
25        percent and that community still can influence who

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 1        represents them in that area.
 2                  Q.     Yes, ma'am.         I understand there are some
 3        constitutional challenges, but when you made that
 4        reference I just wanted to make sure, again, we were
 5        on the same page, that a Section 2 Voting Rights Act
 6        claim is not in the complaint.
 7                  A.     Okay.
 8                  Q.     All right.        I have got about maybe ten
 9        or fifteen more minutes this morning.                     Is that okay
10        or do you want a break?
11                         MR. INGRAM:         Can we take a five-minute
12        break?
13                         MR. TYSON:        Yeah, let's do that, and
14        then we will go through this.                 There is probably
15        fifteen more minutes before finishing up, but let's
16        take a five-minute break.
17                         THE WITNESS:         Okay.
18        (Break In Proceedings)
19        BY MR. TYSON:
20                  Q.     Ms. Murphy, I have got, I thought, ten
21        or fifteen minutes, but I think I'm only going to
22        have about five more minutes of questions because I
23        think the second round of questions is probably
24        better over in the 30(b)(6) part than in this part.
25                         But let me just make sure that we are on

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 1        the -- that we were speaking the same.                      When an
 2        issue comes up and I have an opinion on it, I have
 3        texted my representative or called my representative
 4        and my senator just to give them my two cents.                          And
 5        so I was asking you earlier, have you contacted your
 6        senator or your House member to give them your
 7        opinions?        And if I heard you, you said no, you
 8        didn't because you didn't want to look like you were
 9        being partisan or that you were trying to influence
10        the process.        Is that right?
11                  A.      Yes.
12                  Q.      Okay.     How about other members of the
13        NAACP?      Do you know whether they contacted their
14        various representatives and senators to provide
15        their input on Congressional redistricting?
16                  A.      I was -- I can only say that they were
17        highly discouraged from doing that.                    We were
18        reminded several occasions we are nonpartisan, and
19        so this process should be done in that manner.
20                  Q.      And so they were encouraged not to
21        participate in the process?
22                  A.      No.     No.   Not to contact their
23        representatives regarding the process.
24                  Q.      Just to participate in the -- in the --
25                  A.      Hearings.

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 1                  Q.     All right.        But to stay away from any
 2        personal contact with them.
 3                  A.     Correct.
 4                         MR. TYSON:        All right.          Let's go to,
 5        Antonio, what was marked in the book as Exhibit 20,
 6        and we will mark it as Exhibit 3.
 7        (Senate Exhibit No. 0003, 9-30-21 SC State Conference
 8        NAACP Reapportionment Coalition Meeting Minutes, was
 9        marked)
10                         MR. INGRAM:         I will let you know once it
11        loads.
12                         Got it.
13        BY MR. TYSON:
14                  Q.     It's a September 30, 2021 document.                     Do
15        you see that?
16                  A.     Yes.
17                  Q.     Okay.      And it's Reapportionment
18        Coalition Meeting Minutes.                 Correct?
19                  A.     Yes.
20                  Q.     Okay.      Down there at the bottom, just
21        the last paragraph where it's titled "Update on
22        Plenary," do you see that?
23                  A.     Yes.
24                  Q.     What was that about, that Attorney
25        Cusick -- what does that sentence mean, that first

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 1        sentence that Reverend Moore -- that he stated
 2        something, what does that mean?                  I will let you read
 3        it.
 4                  A.      Okay.     Reverend Moore was one of the LDF
 5        trainers.        And I guess he -- that was Moore still
 6        training, that's all.
 7                  Q.      Okay.     And what does that mean, "to
 8        strengthen branch members in challenging areas?"
 9                  A.      I don't know if that terminology is
10        correct, because at this point we had not talked
11        about challenging.           I think he maybe was saying in
12        terms of strengthening their ability to challenge,
13        if there was an area, with testimony.                     You know, I
14        think it is just in terms of with testimony and
15        challenges.        Oh.    That was just preparation.                 We had
16        not -- no, we had not identified any areas.
17                  Q.      I read this to just say that it looked
18        like that there were challenging areas with
19        testimonial challenges, that maybe there were some
20        branches that didn't have folks that were testifying
21        or speaking on some of their challenges.                         That's
22        kind of how I read it, not a legal challenge.                          Is
23        that right?
24                  A.      No, no, no.        Those basically were
25        scenarios that were presented to help them in terms

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  1        of being able to articulate what the challenges
  2        were.
  3                  Q.      Then how about the next sentence, what
  4        did he say?
  5                  A.      "He needs communication support and
  6        assistance to remind and encourage -- "to come out."
  7        That sentence?
  8                  Q.      Yes, ma'am.
  9                  A.      Oh, that's basically that they need to
 10        be branch members.           Not just the officers need to
 11        participate in the process.                So branch -- you know,
 12        we were preparing branch leaders to be able to share
 13        information with their members, in terms of
 14        encouraging them to participate.
 15                  Q.      And then the next sentence, what does
 16        that say?        What is that talking to?
 17                  A.      Which one?       Aiden (sic)?
 18                  Q.      The one that starts off "Attorney
 19        Aiden."
 20                  A.      "spoke about the model testimony."
 21                  Q.      Yes.
 22                  A.      "model testimony and demographic
 23        profiles."        That was just information sharing.
 24        That's still all it was, just information sharing.
 25                  Q.      So it looks like Attorney Aiden prepared

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  1        or is talking about model testimony for the branch
  2        members to use.          Right?
  3                  A.     No.     No.    They were not -- no.              As I
  4        said, they had scenarios that they were working on.
  5                  Q.     Who is "they"?
  6                  A.     The trainers.          That was Moore, Cusick.
  7                  Q.     Well, what does it mean to "model
  8        testimony"?
  9                  A.     I don't know.          I guess you would have to
 10        ask her about that.            I don't know if that
 11        terminology is correct or not.                 But I know the only
 12        thing that they were doing was looking at
 13        scenarios -- kind of, members were reflecting how
 14        they might respond.            And just training.
 15                  Q.     And then the last sentence of that
 16        paragraph talks about that you sent out these
 17        information and training documents three times this
 18        week.     Right?
 19                  A.     Yeah.      Yes.
 20                  Q.     So you were doing a lot to make sure
 21        that your members and your branches participated in
 22        the process.        Right?
 23                  A.     Yes.
 24                  Q.     And is it fair to say that they did
 25        participate in the process, based on your training

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  1        and your educational materials?
  2                  A.     Yes.
  3                  Q.     Two paragraphs below that it talks about
  4        "Identification of Prospective Plaintiffs."                         What
  5        does that mean?
  6                  A.     I'm not for sure what that says.                    I
  7        guess she is saying, you know, basically, there is
  8        lack of timeliness.            This is President Williams, in
  9        the Orangeburg area, just in terms of getting public
 10        information about meetings.
 11                  Q.     Yeah, but what about the prospective
 12        plaintiffs?       What is that?
 13                  A.     "in low public participation from the
 14        community perspective."              It says:          "It is critical
 15        to keep communities informed with transparent,
 16        up-to-date, and timely notifications about meetings,
 17        sessions, mapping, and public input information."
 18                         And I guess this was basically her
 19        perception, that they were not getting timely
 20        notices about -- and I guess this is when -- what
 21        date is on that?
 22                  Q.     September the 3rd.            But it was your
 23        desire, too, to go out and find prospective clients
 24        at this time.         Right?
 25                  A.     To do what?

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  1                  Q.       To go out and find prospective
  2        plaintiffs for a lawsuit.
  3                           MR. INGRAM:         Objection.
  4                           THE WITNESS:          No.     No, that is not
  5        correct.         No.
  6        BY MR. TYSON:
  7                  Q.       You weren't trying to identify potential
  8        plaintiffs?
  9                  A.       No.     No.
 10                  Q.       Well, let's read the next sentence,
 11        then, "Update From the Desk of President," where it
 12        says:     "President Murphy" --
 13                  A.       Just a moment.
 14                           "Should it become necessary.                  Boykin and
 15        Aiden discussed negative and historical backlash
 16        against people testifying during litigation risks
 17        outside of the norm."
 18                  Q.       Yeah, but the first sentence says:
 19        "President Murphy reported she and the PAG would go
 20        through identified areas to discuss and identify
 21        potential plaintiffs from those areas."                      Right?
 22        That's what it says.
 23                  A.       I don't know that that actually
 24        happened.         It didn't, actually.
 25                  Q.       But this was done on September the 30th,

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  1        and that was done before a lawsuit was filed.
  2        Right?
  3                  A.     No.     I think you're mixing words here.
  4        This is training.           This is training.            They are
  5        working with individuals in the community.                        They
  6        know who are the -- who has the skill level.                          Some
  7        people don't have the skill level to testify, if
  8        they were needed.           So as they trained, if there was
  9        a need for litigation then they could have
 10        identified those persons.               But in actuality, at this
 11        point no one was identified.                And as you see, I
 12        guess Attorney Boykin and Aden talk about the
 13        negative and historical backlash against people
 14        testifying and believe, you know, that is something
 15        that may impact on people being willing to testify.
 16                  Q.     I understand.          I'm just reading the
 17        words.      It said:      President Murphy reported she was
 18        out trying to discuss and identify potential
 19        plaintiffs from those areas.
 20                         And so my question, it doesn't qualify
 21        it at all about if it shall be necessary.                        My
 22        question to you was -- you were looking for a
 23        plaintiff to file a lawsuit is what that reads.
 24        Right?
 25                  A.     That is not true, sir.                We had no reason

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  1        to file a lawsuit at this point.
  2                  Q.       Well, that's what I was getting to.                   How
  3        in the world would you even know how to file a
  4        lawsuit?         Because the Congressional plan hadn't been
  5        done.     So that's why I just want to make sure --
  6                  A.       Okay.
  7                  Q.       -- that this group wasn't looking for
  8        plaintiffs before the lawsuit was even -- before a
  9        map was even drawn.            You would agree that's
 10        improper, isn't it?
 11                           MR. INGRAM:       Objection.
 12                           THE WITNESS:        No.
 13        BY MR. TYSON:
 14                  Q.       It's not improper to find a plaintiff --
 15                  A.       I'm saying --
 16                  Q.       Hold on, Ms. Murphy.            I don't want to
 17        speak over you, but I'm asking, would it be improper
 18        for you try to go find a plaintiff and potential
 19        litigation and you don't even know what the
 20        Congressional map looks like?                  Is that not improper?
 21                  A.       If I did that, yes.
 22                  Q.       Well, this says you did.
 23                  A.       No, I did not, sir.
 24                  Q.       So you're saying that you didn't do what
 25        this report -- well, what the assistant secretary,

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  1        how he reported the minutes?
  2                  A.      No, I did not.
  3                  Q.      And the next two sentences by Attorney
  4        Boykin and Attorney Aiden, they are discussing about
  5        the problems that one might have if they are going
  6        to be plaintiffs because they might be called to
  7        testify during litigation.                Right?
  8                  A.      Well, let me say something to you.                    The
  9        thing is, we were talking about the challenges if
 10        anybody was to serve -- was needed to serve as a
 11        plaintiff because of the historical challenges in
 12        the past.        And I think that is part of that in terms
 13        of the training that has been done.                    And if there
 14        was a need for a plaintiff to be a part of
 15        litigation, then that was just some of the
 16        challenges that they would be faced with because of
 17        some of the fears from the past.
 18                  Q.      Let me ask you something, Ms. Murphy.
 19        You have now testified at a deposition -- I think
 20        this is at least your third or your fourth time.
 21        Have you had any negative or historic backlash
 22        because you have testified?                Have you had any
 23        backlash because you are the president of the NAACP
 24        and are testifying about litigation -- in this
 25        litigation?

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  1                  A.     Right now?
  2                  Q.     Yes, ma'am.
  3                  A.     In the past?         Maybe not directly, but
  4        indirectly, yes.
  5                  Q.     I'm talking about this litigation.                     Not
  6        in the past.        I'm talking about now.
  7                  A.     Well, when you look at the date on this,
  8        we are talking pre-litigation.
  9                  Q.     Yeah.      That's why you're going out and
 10        it says you're looking for plaintiffs.                      It says
 11        you're trying to look for --
 12                  A.     Sir, I can only say that what is
 13        reflected there is not truly what was the intent.
 14        And I know what my intent was.                 And we were not
 15        thinking about litigation prior to maps, because how
 16        in the world could we think about litigation --
 17        well, maybe we should think about litigation because
 18        of what has happened in the past, but it was not
 19        looking for plaintiffs for this case.
 20                  Q.     Well, I just want to make sure we are on
 21        the same page, because that would be improper for
 22        you to try to go find plaintiffs.
 23                  A.     I understand exactly what you're saying,
 24        and I'm telling you that was not the intent.
 25                  Q.     No, I heard you say that.                But I'm

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  1        asking the question because that would be improper
  2        for you to go find plaintiffs in a district --
  3                  A.      Sir, I have heard --
  4                  Q.      Hold on, Ms. Murphy.            Let me finish my
  5        question.        Because you don't even know what the
  6        districts are going to look like, so you couldn't
  7        find a plaintiff.
  8                  A.      Sir, you have said that several times.
  9        And I have told you that is not my intent.                        That was
 10        not my intent.         Because I did not know what the maps
 11        were going to look like.              And if there was
 12        litigation, it would have been related to the
 13        failure of the maps to be drawn in September or
 14        earlier because there was no time to truly react to
 15        the maps.
 16                          MR. TYSON:       Well, I was just trying to
 17        make sure I understood what those words on the paper
 18        said.     And I appreciate you answering my question.
 19                          Ms. Murphy, I'm going to end my part
 20        right here of the personal part.                  And I don't know
 21        if the House or the Election defendants have any
 22        questions that they want to ask, but I appreciate
 23        you answering my questions.
 24                          THE WITNESS:        Okay.      You're welcome.
 25                          MS. HOLLINGSWORTH:           Thank you,

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  1        Mr. Tyson.
  2                         I'm Jennifer Hollingsworth on behalf the
  3        House, and I think it makes sense that I will
  4        reserve my questions for the 30(b)(6) deposition.
  5                         MR. TYSON:        Jane, are you still on?
  6                         MS. TRINKLEY:          Yes.     I have no
  7        questions.       Thank you, Ms. Murphy.
  8                         THE WITNESS:         You're welcome.
  9                         MR. TYSON:        All right.          Madam Court
 10        Reporter, that ought to finish the first deposition.
 11                         MR. INGRAM:         Wait.      Sorry.
 12                         MR. TYSON:        Sorry.       Excuse me, Antonio.
 13                         MR. INGRAM:         I may have redirect.              Give
 14        me five minutes to look at my notes.                     I may have
 15        some redirect.
 16                         MR. TYSON:        Okay.       But you didn't say
 17        you were going to talk to Ms. Murphy.                     I missed what
 18        you said.
 19                         MR. INGRAM:         No.     I said I may have some
 20        redirect if you will give me five minutes to look at
 21        my notes.
 22                         MR. TYSON:        Gotcha.       Thank you.         We will
 23        see you in five minutes.
 24                                 CROSS-EXAMINATION
 25        BY MR. INGRAM:

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  1                  Q.     So President Murphy, I just have a
  2        question for you on redirect.
  3                         Earlier, in today's deposition when
  4        Mr. Tyson asked you what congressional district you
  5        resided in, you said you reside in Congressional
  6        District 2.       Is it possible that you misspoke?
  7                  A.     Congressional District -- oh, yeah.                     I'm
  8        sorry.      I live -- it's in Congressional District 6.
  9        I'm sorry.       Yeah.
 10                         MR. INGRAM:         No problem.         Thanks for
 11        clarifying.       That is all my questions.
 12                         MR. TYSON:        Madam Court Reporter, we
 13        will go off the record and finish this one.
 14        (The deposition was concluded at 12:15 p.m.)
 15        (The deponent does not waive reading and signing of
 16        this deposition)
 17
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  1                          CERTIFICATE OF REPORTER
  2                            I, Elaine L. Grove-DeFreitas, Certified
  3        Shorthand Reporter and Notary Public for the State of
  4        South Carolina at large, do hereby certify that the
  5        foregoing transcript is a true, accurate and complete
  6        record.
  7                            I further certify that I am neither
  8        related to nor counsel for any party to the cause
  9        pending or interested in the events thereof.
 10                            WITNESS MY HAND, I have hereunto
 11        affixed my official seal this                 day of             2022 at
 12        Greenville County, South Carolina.
 13
 14
 15
                                   <%2922,Signature%>
 16                                _______________________________
                                   ELAINE L. GROVE-DEFREITAS
 17                                Certified Shorthand Reporter
                                   My Commission Expires 6/22/2030
 18
 19
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  1       Jennifer Hollingsworth

  2       jhollingsworth@nexsenpruet.com

  3                                     August 19, 2022

  4       RE: South Carolina State Conference Of The NAACP And Scott,

               Taiwan v. Mcmaster, Henry, Et Al.

  5            8/8/2022, Brenda        C. Murphy (#5340046)

  6            The above-referenced transcript is available for

  7       review.

  8            Within the applicable timeframe, the witness should

  9       read the testimony to verify its accuracy. If there are

 10       any changes, the witness should note those with the

 11       reason, on the attached Errata Sheet.

 12            The witness should sign the Acknowledgment of

 13       Deponent and Errata and return to the deposing attorney.

 14       Copies should be sent to all counsel, and to Veritext at

 15       cs-carolinas@veritext.com.

 16

 17        Return completed errata within 30 days from

 18      receipt of testimony.

 19          If the witness fails to do so within the time

 20      allotted, the transcript may be used as if signed.

 21

 22                          Yours,

 23                         Veritext Legal Solutions

 24

 25

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          v. Mcmaster, Henry, Et Al.

  2       Brenda   C. Murphy (#5340046)

  3                            E R R A T A     S H E E T

  4       PAGE_____ LINE_____ CHANGE________________________

  5       __________________________________________________

  6       REASON____________________________________________

  7       PAGE_____ LINE_____ CHANGE________________________

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 21       REASON____________________________________________

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 23       ________________________________           _______________

 24       Brenda   C. Murphy                                      Date

 25

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  1       South Carolina State Conference Of The NAACP And Scott, Taiwan

          v. Mcmaster, Henry, Et Al.

  2       Brenda   C. Murphy (#5340046)

  3                         ACKNOWLEDGEMENT OF DEPONENT

  4            I, Brenda    C. Murphy, do hereby declare that I

  5       have read the foregoing transcript, I have made any

  6       corrections, additions, or changes I deemed necessary as

  7       noted above to be appended hereto, and that the same is

  8       a true, correct and complete transcript of the testimony

  9       given by me.

 10

 11       ______________________________             ________________

 12       Brenda   C. Murphy                                 Date

 13       *If notary is required

 14                            SUBSCRIBED AND SWORN TO BEFORE ME THIS

 15                            ______ DAY OF ________________, 20___.

 16

 17

 18                            __________________________

 19                            NOTARY PUBLIC

 20

 21

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